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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re
                                                                     Chapter 11

    Lordstown Motors Corp., et al.,1                                 Case No. 23-10831 (MFW)

                                                                     (Jointly Administered)
                                          Debtors.

                                                                     Re: Docket Nos. 651, 657, 766 941, 1014
                                                                     & 1016



                  NOTICE OF FILING OF SECOND SUPPLEMENTAL PLAN
                    SUPPLEMENT FOR THE THIRD MODIFIED FIRST
                  AMENDED JOINT CHAPTER 11 PLAN OF LORDSTOWN
                    MOTORS CORP. AND ITS AFFILIATED DEBTORS

        PLEASE TAKE NOTICE that on November 1, 2023, the United States Bankruptcy Court
for the District of Delaware (the “Bankruptcy Court”) entered an order [Docket No. 651] (the
“Disclosure Statement Order”): (a) approving the Disclosure Statement Pursuant to 11 U.S.C. §
1125 with Respect to Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp.
and Its Affiliated Debtors (together with all schedules and exhibits thereto, and as may be modified,
amended, or supplemented from time to time, the “Disclosure Statement”) and the form and
manner of notice; (b) approving procedures for soliciting, receiving, and tabulating votes on the
Plan and for filing objections to the Plan (the “Solicitation Procedures”); (c) approving the forms
of ballots; (d) approving the form, manner and scope of confirmation notices; (e) establishing
certain deadlines in connection with approval of the Disclosure Statement and confirmation of the
Plan (defined below); and (f) granting related relief.

       PLEASE TAKE FURTHER NOTICE that, on December 1, 2023, the Debtors filed
Notice of Filing of Plan Supplement for the Modified First Amended Joint Chapter 11 Plan of
Lordstown Motors Corp. and Its Affiliated Debtors [Docket No. 766] (the “Original Plan
Supplement”).

        PLEASE TAKE FURTHER NOTICE that, on January 31, 2024, the Debtors filed the
Second Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp. and Its
Affiliated Debtors [Docket No. 941].

       PLEASE TAKE FURTHER NOTICE that, on February 28, 2024, the Debtors filed the
Third Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp. and Its Affiliated

1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address
is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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Debtors [Docket No. 1014] (together with all schedules and exhibits thereto, and as may be
modified, amended, or supplemented from time to time, the “Plan”).

       PLEASE TAKE FURTHER NOTICE that, the Debtors filed Notice of Filing of First
Supplemental Plan Supplement for the Modified First Amended Joint Chapter 11 Plan of
Lordstown Motors Corp. and Its Affiliated Debtors [Docket No. 1016] (the “First Supplemental
Plan Supplement”).2

        PLEASE TAKE FURTHER NOTICE that, by this notice (the “Second Supplemental
Plan Supplement,” and together with the Original Plan Supplement and the First Supplemental
Plan Supplement, the “Plan Supplement”) the Debtors hereby file (a) the following revised
exhibits: (i) a revised Schedule of Retained Causes of Action (attached as Exhibit C-1), along
with a blackline to the draft included in the First Supplemental Plan Supplement (attached as
Exhibit C-2), (ii) a revised disclosure regarding the Identity of the Claims Ombudsman and Rates
(attached as Exhibit F-1), along with a blackline to the draft included in the First Supplemental
Plan Supplement (attached as Exhibit F-2), and (iii) a revised disclosure regarding the Identity of
the Claims Ombudsman and Rates (attached as Exhibit H-1), along with a blackline to the draft
included in the First Supplemental Plan Supplement (attached as Exhibit H-2); and (b) the
proposed longform notice and proof of claim form related to the Ohio Securities Litigation
Settlement (attached as Exhibit K-3, and Exhibit K-4), which were not previously included in the
Original Plan Supplement or the First Supplemental Plan Supplement. A chart of the complete
Plan Supplement is as follows:

      Exhibit                               Document3                                           Reference
         A          New Organizational Documents                                      Docket No. 1016, Ex. A-1
                    Identities of members of the New Board and
         B                                                                              Docket No. 766, Ex. B
                    Officers of Post-Effective Date Debtors
                                                                                           Attached hereto as
        C-1         Schedule of Retained Causes of Action
                                                                                              Exhibit C-1
                    Blackline of Schedule of Retained Causes of                            Attached hereto as
        C-2
                    Action to December 1, 2023 Draft                                          Exhibit C-2
         D          Post-Effective Date Debtor Amount                                   Docket No. 766, Ex. D
         E          GUC Reserve                                                         Docket No. 1016, Ex. E
                                                                                           Attached hereto as
        F-1         Identity of Claims Ombudsman and Rates
                                                                                              Exhibit F-1
                    Blackline of Identity of Claims Ombudsman and                          Attached hereto as
        F-2
                    Disclosure Regarding Rates                                                Exhibit F-2
         G          Identity of Litigation Trustee                                      Docket No. 1016, Ex. G

2
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Plan or the
Disclosure Statement, as applicable.
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    The exhibits set forth in the Plan Supplement remain subject to ongoing review and material revision in all respects.


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    Exhibit                              Document3                                          Reference
                                                                                       Attached hereto as
     H-1         Litigation Trust Agreement
                                                                                          Exhibit H-1
                                                                                       Attached hereto as
     H-2         Blackline of Litigation Trust Agreement
                                                                                          Exhibit H-2
       I         Schedule of Contracts Rejected Pursuant to Plan                    Docket No. 1016, Ex. I
       J         Asserted Claims Schedule                                           Docket No. 1016, Ex. J
     K-1         Ohio Settlement Notice – Post-Card Notice                         Docket No. 1016, Ex. K-1
     K-2         Ohio Settlement Notice – Publication Notice                       Docket No. 1016, Ex. K-2
                                                                                       Attached hereto as
     K-3         Ohio Settlement Notice – Longform Notice 4
                                                                                          Exhibit K-3
                                                                                       Attached hereto as
     K-4         Ohio Settlement Notice – Proof of Claim Form
                                                                                          Exhibit K-4

        PLEASE TAKE FURTHER NOTICE that the documents, schedules, and other
information contained in this Plan Supplement (in each case, as may be amended, modified, or
supplemented) are integral to and part of the Plan. These documents have not yet been approved
by the Bankruptcy Court. If the Plan is approved, the documents contained in the Plan Supplement
will be approved by the Bankruptcy Court pursuant to the Confirmation Order.

       PLEASE TAKE FURTHER NOTICE that the Debtors reserve all rights to amend,
modify, or supplement the Plan Supplement, and any of the documents contained therein, in
accordance with the terms of the Plan. If material amendments or modifications are made to any
of these documents, the Debtors will file a blackline with the Bankruptcy Court prior to the
Confirmation Hearing marked to reflect the same.

       PLEASE TAKE FURTHER NOTICE THAT a hearing to consider confirmation of the
Plan (the “Confirmation Hearing”) has been scheduled for March 5, 2024 at 3:00 p.m.
(prevailing Eastern Time), before the Honorable Mary F. Walrath, United States Bankruptcy
Judge, at the Bankruptcy Court, located at 824 North Market Street, Fifth Floor, Courtroom No.
4, Wilmington, Delaware 19801. The Confirmation Hearing may be adjourned or continued
from time to time by the Bankruptcy Court or the Debtors without further notice other than
adjournments announced in open court or as indicated in any notice of agenda of matters
scheduled for hearing filed by the Debtors with the Bankruptcy Court.

       PLEASE TAKE FURTHER NOTICE THAT you may obtain the Plan, the Disclosure
Statement, the Plan Supplement, or related documents from Kurtzman Carson Consultants LLC

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 The longform Ohio Settlement Notice was drafted by Ohio Class Counsel for their distribution to the Ohio Litigation
Settlement Class Members. It does not reflect the views of any other party (including the Debtors, the Post-Effective
Date Debtors, the UCC, or the EC) on the matters or construal of facts contained therein. By including the longform
notice in this Plan Supplement and seeking approval of the same in connection with confirmation of the Plan, such
other parties make no admission or concession and reserve all rights.



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(the “Solicitation Agent”) free of charge by: (a) calling the Debtors’ toll-free restructuring hotline
at (877) 709-4757 (U.S./Canada) or (424) 236-7235 (international); (b) visiting the Debtors’
restructuring website at https://www.kccllc.net/lordstown; (c) writing to Lordstown Processing
Center, c/o Kurtzman Carson Consultants LLC, 222 N. Pacific Coast Highway, Suite 300, El
Segundo, CA 90245; or (d) emailing lordstowninfo@kccllc.com (with ‘Lordstown’ in the subject
line).

        You may also access           from    these   materials    for   a    fee   via    PACER    at
http://www.deb.uscourts.gov/.

 YOU ARE ADVISED TO CAREFULLY REVIEW AND CONSIDER THE PLAN,
 INCLUDING THE DISCHARGE, INJUNCTION, RELEASE, AND EXCULPATION
 PROVISIONS CONTAINED IN ARTICLE VIII OF THE PLAN. ARTICLE VIII.D OF
 THE PLAN CONTAINS THIRD-PARTY RELEASES. THUS, YOU ARE ADVISED TO
 REVIEW AND CONSIDER THE PLAN CAREFULLY BECAUSE YOUR RIGHTS
 MIGHT BE AFFECTED THEREUNDER.

 THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES ONLY.
 IF YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER THE
 PLAN OR ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE TO
 OBTAIN ADDITIONAL INFORMATION, PLEASE CONTACT THE SOLICITATION
 AGENT AS SPECIFIED ABOVE. PLEASE NOTE THAT THE SOLICITATION
 AGENT MAY NOT PROVIDE LEGAL ADVICE. IF YOU NEED LEGAL ADVICE,
 PLEASE CONSULT WITH YOUR ATTORNEY.




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Dated: March 1, 2024                       WHITE & CASE LLP
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